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                                No. 23-12958


           IN THE UNITED STATES COURT OF APPEALS
                 FOR THE ELEVENTH CIRCUIT



                              State of Georgia,
                                           Plaintiff-Appellee,
                                      v.


                             Mark R. Meadows,
                                           Defendant-Appellant.


  From the United States District Court for the Northern District of Georgia
                 The Honorable Steve C. Jones, Presiding
                          No. 1:23-CV-3621-SCJ


                Response Brief to September 12 Order
      re Removal Under 28 U.S.C. § 1442(a)(1) by Former Officials

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                  CERTIFICATE OF INTERESTED PERSONS
                 AND CORPORATE DISCLOSURE STATEMENT

           To the best of Appellant’s knowledge, no associations of persons,

partnerships, or corporations have an interest in the outcome of this case or appeal,

including subsidiaries, conglomerates, affiliates, parent corporations, any publicly

held corporation that owns 10% or more of the party’s stock; the following is a list,

in alphabetical order, of all trial judges, attorneys, law firms, and persons with such

an interest *:

     1.      Alksne, Cynthia, amicus below

     2.      Anulewicz, Christopher Scott, attorney for Robert David Cheeley

     3.      Arora, Manubir, attorney for Kenneth John Chesebro

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*
  For all parties who appeared below, Appellant has included the parties, their
attorneys, and their attorneys’ law firms. In order to facilitate this Court’s review for
potential conflicts, Appellant has also included the other named defendants in the
state proceeding and their attorneys, where available.
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  70.   Roman, Michael A., Defendant in Georgia v. Trump

  71.   Rood, Grant H., Fulton County District Attorney’s Office

  72.   Sadow, Steven H., attorney for Donald J. Trump


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  91.   Wu, Shan, amicus below

  92.   Young, Daysha D’Anya, Fulton County District Attorney’s Office



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      The Court has directed the parties to brief preliminarily whether 28 U.S.C.

§ 1442(a)(1) permits removal by former officials, particularly given the reference in

§ 1442(b) to “any citizen of a State who is, or at the time the alleged action accrued

was, a civil officer of the United States.” The answer is “yes.” A former official may

remove under § 1442(a)(1). “It would make little sense if this were not the rule, for

the very purpose of the Removal Statute is to allow federal courts to adjudicate

challenges to acts done under color of federal authority.” New York v. Trump, No.

23 CIV. 3773 (AKH), 2023 WL 4614689, at *5 (S.D.N.Y. July 19, 2023). Text,

history, precedent, and purpose all support removal by former officials.1

      Text. To begin the answer where the Court’s question begins, the textual

differences in § 1442(a) and § 1442(b) do not undermine removal by former

officials. These provisions were not written together but combined in 1948 as part

of a broader codification of the U.S. Code. See 62 Stat. 938.2 There is no reason to



1
  If the Court wants more time to consider the issue—which no one raised below,
and which to Appellant’s knowledge, has never been questioned by a federal court
adjudicating an officer removal case in over 140 years—that is all the more reason
to grant the injunctive relief Meadows sought in his September 11 Emergency
Motion to preserve the status quo and facilitate this Court’s deliberate consideration.
2
  The predecessor to § 1442(b), see 17 Stat. 44 (Mar. 30, 1872), was enacted decades
after the predecessor to § 1442(a), see 4 Stat. 632 (Mar. 2, 1833). Appellant has not
identified any case involving removal under § 1442(b), and pre-codification cases
are sparse; removal under § 1442(b) and its predecessors was likely displaced by
removal under the broader removal statutes Congress later passed.
                                            1
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think the difference in wording reflects a “deliberate choice” by Congress as opposed

to mere “inadvertence.” Barnhart v. Peabody Coal Co., 537 U.S. 149, 168 (2003).

      If anything, § 1442(b)’s reference to “any citizen of a State who is . . . a civil

officer” (emphasis added) suggests that, if Congress wanted to limit § 1442(a)(1) to

current officials, “it kn[ew] how to make such a requirement manifest,” Jama v.

Immigr. & Customs Enf’t, 543 U.S. 335, 341 (2005); it could have provided for

removal by a person “who is a federal officer.” A court should not “give much

weight to [a] negative inference” where “[i]t is possible that [another provision]

simply uses different language,” and where the linguistic differences plausibly point

to a different reading. Garland v. Aleman Gonzalez, 142 S. Ct. 2057, 2068 (2022).

Nor should a court rely on negative inferences to “carv[e] out subject matter that

otherwise fits comfortably within the expansive language of” a statute. J.E.M. Ag

Supply, Inc. v. Pioneer Hi-Bred Int’l, Inc., 534 U.S. 124, 138 (2001); see also Watson

v. Philip Morris Companies, Inc., 551 U.S. 142, 147 (2007) (the Federal Officer

Removal Statute “must be liberally construed”) (quotation omitted).3


3
  The Supreme Court’s admonition that § 1442(a) should be construed broadly is
distinct from § 1441, which federal courts construe narrowly. See Bradford v.
Harding, 284 F.2d 307, 309–10 (2d Cir. 1960) (Friendly, J.) (the Federal Officer
Removal Statute “rests upon far stronger considerations of policy. Section 1441
relates to the rights of individuals. Section 1442, although dealing with individuals,
vindicates also the interests of government itself.”) (citing Tennessee v. Davis, 100
U.S. 257, 262 (1879)).
                                            2
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       The plain text of § 1442(a)(1) is also consistent with removal by former

officials. Prosecution of a former official may naturally be described as a case

“against . . . an[] officer . . . of the United States . . . for or relating to any an[] act

under color of [his] office”—just as one might brag of “pictures with seven

Presidents,” even if they are now out of office, and even if they were when the

pictures were taken. Moreover, grammatically, § 1442(a)(1), (3), and (4) all focus

on whether the action or prosecution is “for or relating to any act” covered by the

statute; that focus on official conduct applies equally to current and former officials.4

       Whereas § 1442(a)(1) focuses on conduct, § 1442(b) focuses on status. Every

removable case under § 1442(a)(1) involves a connection to official conduct, but not

so with § 1442(b): it allows removal whether or not the action relates to official

conduct, so long as the defendant either is an officer at the time the suit is removed

or was at the time the action accrued. That distinction between the focus on conduct


  To illustrate further, one could conceivably read the difference in phrasing between
§ 1442(a)(1) (“for or relating to any act under color of such office”) and § 1442(a)(3)
(“for or relating to any act under color of officer or in the performance of his duties”)
(emphasis added) to suggest that an officer removing under (a)(1) may not rely on
conduct “in the performance of his duties.” But the Supreme Court has specifically
rejected any distinction between those two provisions and held that they are
coextensive. See Mesa v. California, 489 U.S. 121, 135 (1989).
4
  Section 1442(a)(2) instead focus on whether the “action or prosecution affects the
validity of any law of the United States,” but that inquiry too can come into play in
a case against a former property holder, or a property holder whose title was formerly
derived from a federal officer.
                                            3
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in § 1442(a)(1) and the focus on status in § 1442(b) more than accounts for the

“‘material variation in terms.’” United States v. Garcon, 54 F.4th 1274, 1279 (11th

Cir. 2022) (quoting ANTONIN SCALIA & BRYAN A. GARNER, READING LAW: THE

INTERPRETATION OF LEGAL TEXTS § 25, at 170 (2012)). Congress plausibly

addressed current and former officials separately in § 1442(b) because they must

make different showings: one that he is a current official (regardless when the claim

accrued), the other that he was an official when the claim accrued (regardless

whether he is now).5 Under § 1442(a), by contrast, current and former officials make

the same showing: that the case relates to any act under color of office. That key

language is repeated in (1), (3), and (4), highlighting the focus on prior conduct.

      History. The history of the Federal Officer Removal Statute reinforces the

same conclusion. In 1833, Congress enacted Section 3 of the “Force Act,” the

statutory precursor to § 1442(a), which provided for removal “in any case where suit

or prosecution shall be commenced in a court of any state, against any officer of the

United States, or other person, for or on account of any act done under the revenue

laws of the United States, or under colour thereof . . .” An Act further to provide for


5
  That reading tracks the diversity removal statute, 28 U.S.C. §1441, which turns on
the status (diversity) of the parties currently, not at the time the underlying conduct
occurred or claims accrued. See, e.g., Smith v. Comcast Corp., 786 F. App’x 935,
939 (11th Cir. 2019) (“And for a removed case, diversity jurisdiction is determined
at the time of removal.”) (cleaned up).
                                            4
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the collection of duties on imports, § 3, 4 Stat. 632, 633 (Mar. 2, 1833) (emphasis

added). The original phrasing makes clear that being a current officer is not required,

and there is no reason to think subsequent revisions added such a requirement.6

Meadows is not aware of any case suggesting, much less holding, that a former

official is categorically ineligible for removal. Not a single case in 140 years.

      Precedent. Many cases successfully removed under § 1442(a)(1) have

involved actions or prosecutions against former officials or persons who formerly

acted under a federal official. 7 And a district court has expressly held, in a case


6
  Section 3 also further illustrates the lexical point above that “officer” naturally
refers to a former officer. The text plainly did not require removal by a current
officer; it referred to an action against “any officer . . . or other person.” 4 Stat. at
633 (The point is not that former officers qualified only as “other persons”; the point
is that there was no conceivable textual basis to exclude them.) At the same time,
the provision was described with reference to actions “against revenue officers.” 4
Stat. at 633 (“Action in state courts against revenue officers to removed.”).
7
  See, e.g., Eagar v. Drake, 829 F. App’x 878, 881 (10th Cir. 2020) (appeal of action
removed under § 1442(a)(1) by “a retired U.S. Bureau of Land Management
(‘BLM’) employee” for acts taken during his official service); State of Ariz. v. Elmer,
21 F.3d 331, 333 (9th Cir. 1994) (same by “former United States Border Patrol
Agent”); Guancione v. Guevara, No. 23-CV-01924-JSW, 2023 WL 3819368, at *1
(N.D. Cal. June 5, 2023) (“[T]he Government removed the action to this court under
28 U.S.C. § 1442(a)(1) alleging that this action is against a former federal
employee.”); Brunson v. Adams, No. 121CV00111JNPJCB, 2021 WL 5403892, at
*3 (D. Utah Oct. 19, 2021) (holding that § 1442(a)(1) authorized removal by “former
Vice President Pence” and others), report and recommendation adopted, No.
121CV00111JNPJCB, 2021 WL 5383788 (D. Utah Nov. 18, 2021); Meros v.
Dimon, No. 2:18-CV-510, 2019 WL 1384390, at *2 (S.D. Ohio Mar. 27, 2019)
(dismissing claims against the “former United States Attorney for the Northern
District of Ohio” who removed under § 1442(a)(1)); see also Baker v. Atl. Richfield
                                           5
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involving one of the defendants to the underlying action here, that former officials

may remove under § 1442(a)(1). See New York v. Trump, 2023 WL 4614689, at *5.

      Removability turns on, and has always been understood to turn on, the

defendant’s federal duties at the time of the conduct charged, not at the time of

prosecution or removal. See, e.g., Mesa v. California, 489 U.S. 121, 123 (1989) (“In

the summer of 1985 petitioners . . . were employed as mailtruck drivers . . . .”); State

of Maryland v. Soper, 270 U.S. 9, 34–35 (1926) (analyzing the defendant’s conduct

at the time of the actions giving rise to the prosecution).

      This Court’s own precedents interpreting and applying § 1442(a)(1) strongly

support the conclusion that former officials may remove. As this Court explained in

State of Florida v. Cohen, 887 F.2d 1451, 1453 (11th Cir. 1989), “Section 1442(a)(1)

permits the removal of [both] those actions commenced in state court that potentially

expose a federal official to civil liability or criminal penalty for an act performed in

the past under color of office, [and] the removal of civil matters that seek to either

prohibit or require certain actions by a federal official in the future.” (Emphasis

added.) Having a current officer for a defendant is not the touchstone. In Magnin v.


Co., 962 F.3d 937 (7th Cir. 2020) (allowing removal by successor in interest to
former government contractor); Depascale v. Sylvania Elec. Prod., Inc., 584 F.
Supp. 2d 522, 524 (E.D.N.Y. 2008) (allowing removal by successor in interest to
government contractor sued over “industrial chemicals allegedly discharged at a
former nuclear rod facility”).
                                       6
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Teledyne Control Motors, 91 F.3d 1424, 1428 (11th Cir. 1996), this Court held that

an aircraft technician properly removed an action brought by the estate of a plane-

crash victim because “in executing [an] airworthiness certificate, [he] was acting

under an officer or agency of the United States and was acting under color of such

office within the meaning of 28 U.S.C. § 1442(a)(1).” The Court did not hold that

the technician had to show that he was acting under an officer or agency of the

United States at the time of removal. 8 While these decisions did not face the question

directly—because neither the parties nor the courts raised it—they persuasively

show that this Court, like every other, has understood § 1442(a)(1) to allow removal

by former officials who sued or prosecuted for acts under color of office.

      Consistent with this view, federal courts have long allowed the United States

to substitute itself for former employees under the Westfall Act, which similarly

contains generic reference to a “civil action or proceeding for money damages . . .

against the employee whose act or omission gave rise to the claim.” 28 U.S.C.

§ 2679(b)(1) (emphasis added). Like Supremacy Clause immunity and the Federal

Officer Removal Statute, the Westfall Act protects federal officials not just from



8
  See also Murray v. Murray, 621 F.2d 103, 107 (5th Cir. 1980) (holding that
§ 1442(a)(1) “permits the removal of those actions commenced in state court that
expose a federal official to potential civil liability or criminal penalty for an act
performed in the past under color of office”) (emphasis added).
                                          7
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liability but also from being subject to suit. See Osborn v. Haley, 549 U.S. 225, 238–

39 (2007). Many former officials have enjoyed such protection.9 Indeed, the

Westfall Act’s further reference to “the estate of such employee” further illustrates

that the unmodified noun “employee” (like “officer”) can naturally refer to someone

who previously filled that role but does not currently. Cf. also Margan v. Chemetron

Fire Sys., Inc., 954 F. Supp. 1127, 1130 (E.D. Va. 1997) (allowing removal under

§ 1442A by estate of deceased service-member where “[a]ll parties agree[d] . . . [he]

acted in his official capacity . . . when he [engaged in the relevant conduct]”).

      Purpose. Removal by former officials is not only consistent with, but

compelled by, the strong federal interests the Federal Officer Removal Statute

serves. As the court recently stated in New York v. Trump, a former official “can

remove a case otherwise qualified for removal. It would make little sense if this were

not the rule, for the very purpose of the Removal Statute is to allow federal courts to

adjudicate challenges to acts done under color of federal authority.” 2023 WL



9
  See, e.g., Smith v. Clinton, 886 F.3d 122 (D.C. Cir. 2018) (applying Westfall Act
to claims against former Secretary of State Hillary Clinton); Al-Tamimi v. Adelson,
264 F. Supp. 3d 69 (D.D.C. 2017) (former Deputy National Security Advisor Elliott
Abrams), rev’d on other grounds, 916 F.3d 1 (D.C. Cir. 2019); Ameur v. Gates, 950
F. Supp. 2d 9057 (E.D. Va. 2013) (former Secretaries of Defense Robert Gates and
Donald Rumsfeld), aff’d, 759 F.3d 317 (4th Cir. 2014); Schneider v. Kissinger, 310
F. Supp. 2d 251 (D.D.C. 2004) (former National Security Advisor Dr. Henry
Kissinger), aff’d, 412 F.3d 190 (D.C. Cir. 2005).
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4614689, at *5. The Supreme Court has admonished that the important federal

interests underlying the Federal Officer Removal Statute “should not be frustrated

by a narrow, grudging interpretation of § 1442(a)(1).” Willingham v. Morgan, 395

U.S. 402, 407 (1969). 10 That is why federal officer removal is construed broadly,

whereas normal diversity removal is construed narrowly. See n.2 supra.

      “[O]ne of the most important reasons for removal is to have the validity of the

defense of official immunity tried in a federal court.” Willingham v. Morgan, 395

U.S. 402, 407 (1969). That interest does not depend on whether the defendant

remains an official at removal (or for that matter, when immunity is adjudicated).

Immunity continues after federal service. See, e.g., Nixon v. Fitzgerald, 457 U.S.

731, 756 (1982) (holding that Richard Nixon retained “absolute Presidential

immunity . . . for acts within the ‘outer perimeter’ of his official responsibility”);

Gallizzi v. Williams, 423 F.2d 1213, 1214 (5th Cir. 1970) (holding that claims against

“former employees at the Veterans Administration Center” were “plainly barred by

the doctrine of official immunity”). This is consistent with the principle that

“immunities are grounded in the ‘nature of the function performed, not the identity


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   In the same passage, the Supreme Court emphasized that the Federal Officer
Removal Statute protects not just “federal officers” but also “the Federal
Government itself.” Id. That protection would be significantly narrowed if States
could prosecute federal officials as soon as they leave office without any subsequent
right to remove.
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of the actor who performed it.’” Clinton v. Jones, 520 U.S. 681, 695 (1997) (quoting

Forrester v. White, 484 U.S. 219, 228 (1988)). And it is critical to “protect[] federal

operations from the chilling effect of state prosecution, New York v. Tanella, 374

F.3d 141, 147 (2d Cir. 2004), a purpose which would be severely undermined if

States could initiate state-court prosecution as soon as an official’s service ends. As

far as Meadows is aware, no court (or commentator, for that matter) has ever

suggested that current officials may remove to federal court and have immunity

decided there while former officials must litigate immunity defenses in state court.

      Finally, reading the phrase “any officer . . . of the United States” to allow

removal only by current officials would produce anomalous results compare to cases

involving “any person acting under that officer.” 28 U.S.C. § 1442(a)(1). Either (1)

the defendant must still be acting under that officer, which would serve little federal

interest and require substantial litigation that removal cases do not presently address;

or (2) he need not be, in which case federal officials would receive less durable

protection than the individuals who act under them. The court should not construe

§ 1442(a)(1) to produce such “strange—if not absurd—results.” United States v.

Cingari, 952 F.3d 1301, 1310 (11th Cir. 2020).

                             *      *      *      *     *

      A former official like Meadows is permitted to remove under § 1442(a)(1).

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Dated: September 13, 2023                   Respectfully submitted,

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                       CERTIFICATE OF COMPLIANCE

      I hereby certify that this brief complies with the ten-page limit set forth in the

Court’s September 12 order. This brief is 10 pages long and uses a Times New

Roman 14-point font.



Respectfully submitted this 13th day of September, 2023.

/s/ John S. Moran

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